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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ALTAUNE BROWN,
                                Plaintiff,

                         v.                                        23 Civ. 5634 (DEH)

 NYC CONVENIENCE 2 CORPORATION, et                                        ORDER
 al.,
                                Defendants.



DALE E. HO, United States District Judge:
       The Court having been advised that the parties have reached a settlement in principle, it is

ORDERED that the above-entitled action is hereby DISMISSED without costs, and without

prejudice to the right to reopen the action within thirty days of the date of this Order if the

settlement is not consummated. Any application to reopen must be filed by the aforementioned

deadline; any application to reopen filed after then may be denied solely on that basis.

       If the parties wish for the Court to retain jurisdiction to enforce any settlement agreement,

they must submit the settlement agreement to the Court by the deadline to reopen to be “so

ordered.” Per the Court’s Individual Rules, unless the Court orders otherwise, the Court will not

retain jurisdiction to enforce a settlement agreement unless it is made part of the public record.

       The Clerk of Court is respectfully directed to close the case.

       SO ORDERED.

Dated: January 23, 2024
       New York, New York



                                                                        DALE E. HO
                                                                 United States District Judge
